                         UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                                                                                 Motion GRANTED.
                              NASHVILLE DIVISION



UNITED STATES OF AMERICA,                   )
                                            )
              Plaintiff,                    )
                                            )        CIVIL NO. 3:10cr00247
              v.                            )
                                            )        JUDGE TRAUGER
                                            )
[1] THOMAS SCHROEDER,                       )
[2] JESSICA POTTS                           )
                                            )
              Defendant.                    )

                           MOTION TO AMEND JUDGMENT
                   AND FOR ENTRY OF AN ORDER OF ABANDONMENT

       COMES NOW the United States of America, by and through United States Attorney David

Rivera, and Assistant United States Attorney Braden Boucek, pursuant to Fed.R.Crim.P. 36, and

respectfully submits this motion to amend the judgment entered against Defendant Thomas

Schroeder to remove the reference to forfeiture of a 2007 white Dodge pick-up truck with TN tags

161XWC, VIN 1D7HA16P47J580521 (hereinafter identified as “Dodge pick-up”) and to instead

enter an order of abandonment of said vehicle.

       Defendant Thomas Schroeder abandoned his interest in the Dodge Ppick-up in his plea

agreement. (D.E. 146: Plea Agreement, 10). Despite this fact, the Judgment entered against him

erroneously lists the Dodge pick-up for forfeiture. (D.E. 168: Judgment, 6). The United States is

unable to lawfully dispose of the vehicle without an order of abandonment.




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